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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

 RODRIGO ESTEBAN                          Case No. 3:21cv188-MCR-HTC
 RETAMAL CONCHA

        Petitioner,

 v.

 CAROLINA ANDREA
 GUERRERO TORO

        Respondent.

 ___________________________________/

               VOLUNTARY RETURN ORDER DIRECTING
                 RETURN OF MINOR CHILD TO CHILE

      This Voluntary Return Order Directing Return of Minor Child to Chile is

made pursuant to the 1980 Convention on the Civil Aspects of International Child

Abduction (the “Hague Convention”), and the International Child Abduction

Remedies Act (“ICARA”), 22 U.S.C. § 9001 et seq., and with the express consent

and agreement of all parties, as evidenced by the signatures of the parties and

their counsel on the Joint Stipulation, ECF No. 18.

      Accordingly, the Court orders the following, as requested by the parties:

      1.     That by agreement of the parties, the minor child, M.I.R.G., born in

2012, shall be returned to his habitual residence of Chile.
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      2.     That by agreement of the parties, Petitioner will travel to the United

States at his own expense, and return with M.I.R.G. to Chile.

      3.     That by agreement of the parties, Petitioner shall arrange and pay

for all expenses associated with M.I.R.G.’s travel to Santiago, Chile.

      4.     That by agreement of the parties, Petitioner’s counsel shall provide

Respondent’s counsel with the details of Petitioner’s and M.I.R.G.’s travel

itinerary from Florida to Santiago, Chile, and Respondent will ensure that

M.I.R.G. is ready to return to Chile with Petitioner on the dates specified.

      5.     That by agreement of the parties, Petitioner and M.I.R.G. shall

return to Chile as soon as Petitioner and M.I.R.G. can reasonably finalize

Petitioner’s and M.I.R.G.’s travel plans from the United States to Chile, but in no

event shall the time period for the Child’s departure exceed 45 days.

      6.     That by agreement of the parties, the Clerk of Court will release

M.I.R.G’s passport and travel documents to Respondent’s counsel to be held in

trust for Petitioner without release to Respondent and Petitioner will pick up

M.I.R.G., together with M.I.R.G.’s passport and travel documents, at

Respondent’s attorney’s office on a date to be coordinated by the parties.

      7.     That by agreement of the parties, upon his departure from the United

States, M.I.R.G. shall return to and reside in Santiago, Chile with the Petitioner,
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who will have temporary custody rights of M.I.R.G., until the Respondent returns

to Santiago, Chile.

      8.     That by agreement of the parties, upon the return of M.I.R.G. to

Chile, Petitioner’s counsel shall file notice in this Court that M.I.R.G. has been

returned to his country of habitual residence.

      9.     That by agreement of the parties, once Respondent returns to

Santiago, Chile, Petitioner and Respondent agree that unless a Chilean court

orders otherwise, M.I.R.G. will reside with Respondent upon Respondent’s

facilitation of a suitable residence, and the current regime governing custody of

M.I.R.G. shall return to the status quo. Petitioner and Respondent agree that they

shall each retain the right to seek a modification of the custody regime in the

Chilean courts upon Respondent and M.I.R.G.’s return to Chile.

      10.    That by agreement of the parties, Petitioner agrees that he will not

pursue a contempt of court order from the Chilean courts or pursue any criminal

charges against Respondent based on the allegations contained in the Amended

Verified Petition.

      11.    That by agreement of the parties, each party shall pay his or her own

attorney’s fees, expenses, and costs associated with this matter, and Petitioner

waives any and all claims against Respondent under the Hague Convention

and/or ICARA for necessary expenses and attorney’s fees. Provided that if
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Respondent fails to return M.I.R.G. to Petitioner with M.I.R.G’s travel

documents for M.I.R.G.’s scheduled return to Chile, Petitioner shall be entitled

to injunctive relief and an award of reasonable attorney’s fees, costs, and

expenses, including for travel, upon application without evidentiary hearing.

        12.   The hearing on the Court’s Order to Show Cause has been canceled

as moot.

        13.   This Order is not a determination of the merits of any custody issues

within the meaning of Article 19 of the Hague Convention. This Voluntary

Return Order is made under the authority of 22 U.S.C. § 9003(a), conferring

original jurisdiction upon this Court, and under the authority of Article 7 of the

1980 Hague Convention.

        14.   The Clerk is directed to return M.I.R.G.’s passport and travel

documents pursuant to Paragraph 6 above and thereafter close the file.

        DONE AND ORDERED in Pensacola, Florida this 13th day of March,

2021.

                                        M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE

Copies furnished to:
All Counsel of Record
